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U. S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA
CERTIFICATE OF INDEBTEDNESS

Name: Janice Mosley
AKA: Janice B. Mosley
Address:

Hesperia, CA
SSN‘.. `-6983

I certify that U.S. Department of Education records show that the borrower named above is indebted to the United
States in the amount stated below plus additional interest from 10/2/98.

On or about 5/13/85 the borrower executed promissory note(s) to secure loan(s) of $2,500.00 from The Crocker
Bank at 8 percent interest per annum. This loan obligation Was guaranteed by California Student Aid Comrnission
and then reinsured by the Department of Education under loan guaranty programs authorized under Title IV-B of
the Higher Education Act of 1965, as amended, 20 U.S.C. 1071 et.seq (34 C.F.R. Part 682). The holder demanded
payment according to the terms of the note(s) and, credited $416.03 to the outstanding principal owed on the
loan(s). The borrower defaulted on the obligation on 5/29/91 and the holder filed a claim on the guarantee

Due to this default, the guaranty agency paid a claim in the amount of$2,277.18 to the holder. The guarantor was
then reimbursed for that claim payment by the Department under its reinsurance agreement The guarantor
attempted to collect the debt from the borrower. The guarantor was unable to collect the hill amount due, and on
9/5/95, assigned its right and title to the loan(s) to the Department.

Since the assignment of the loan, the Department has received a total of $785.00 in payments from all sources,
including Treasury Department offsets, if any. After application of these payment, the borrower now owes the
United States the following:

Principal: $1,597.86
lnterest: $ 411.52
Administrative/Collection Costs: $ 0.00
Late fees: $ 0.00
Total debt as Of 10/2/98 $2,009.38

Interest accrues on the principal shown here at the rate of $.35 per day.

Pursuant to 28 U.S.C. S 1746(2), I certify under penalty of perjury t e foregoing is true and correct.
k
Executed on: f of j f j g Name: l m

W/Loan Analyst
ianch: Litigation Branch

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Late Charge: lt a campaign
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to pay lot its guarantee ol this Note. The guarantee fee is equal to _ _ BN, % per annum °'r::';hl’:"amlnmril|l“tsu H:"Gfur::nti

disbursal date.iintil ' .M 'moi_itli_s after the graduation/completion date given lin till application ior this loan. liu part ct this guarantee reg win be r

to me unless the totai loan is repaid within 60 days alter the disbursal date, iii which case the total fee will be retumed. l will pay you a loan ort¢in;tinn rn¢ umw

by lederlaldlaw lit true gm;iunt disclosed_in tt_lie flterrilz_r:|ti_nn or thetAtgioui.i:thFcl‘riagiced" a::iv;hlf any loan disbursement check is returned uncommon nn rend,r°|":

be eritit e to a re n o any oan origina ton ee par 'in respec su is urseme . e guarantee fee and the loan ri ' t'

the proceeds.of_,my loan. __ ° l"‘* '°" m fm truth be deducted tn
V. villtltE toll ItlE: l will be iii delault and _you nave t' o right to give me notice that the whole outstandin prinoi al balo -", 4 -
and payab ,;at once (subject t_o any law which gives a right to cure my default)_ii: l) Any payment hals not r:ad,ed ge :i|t‘"`sin°% ‘:i?i:'ml_’l?itsldi:lwe rs g
tall to - ' ot a change iii my name, address, or school enrollment status within 10 days; or 3) l break any of my other promises under this kr'n‘»"
Any ban _cy proceeding is _liegun by or against me, l assign any of my assets for the beneiit ot my creditors ny 5) l make{any false written ali:t¢lilie . or_
for this '£ or ior an attension or deferment of this loan. Ai_ter sending such notice to nie. you will have the right, without turther notice to me m °"tsl'l;t'i`l‘yi
balance 'out of my checking and/or savings account l have with you it permitted by _law, but n_ot out ot the proceeds of any other property'ot mine iiihit:til h'

between you and me. lt l default l will be required to pay interest on this loan as provided in Pm¢rn¢,n m yro,:m‘y

a right tii.talte because ol any other agreement _ _ _ _ '
date of default since the llnited States Governmnnt will stop paying such interest on my benn|r_

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Vl. c'ot,|,£dtl||l cos‘l$; 1) lagree to pay you reasonable amounts permitted by law, including the fees of an outside attorney n d ~ 1 -
any amount l owe under the tiote which is not paid when due, 2) lt any payment has riot reached you within 10 days a?te:igtd°ti:';at:?l$nmzir;:,:,°i:?$

law, bill me for a late charge at the amount shown above.
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d s CaSe 5:18-Cv-02242-WDK-SE. Dmiment 1-1 Filed 10/22/18 nge 4 of 4 Page |D #:6
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Vll. ADD|T||]||AL ABREEME||TS: 1) T=‘ie proceeds of this loan will he used only for `my education expenses at the schooi 'iisted in my application 2) l will sand written

l may be under 18 years of age. 7) l understand my loan will be cancelled if l die br become totall ` '

_ _ _ y and ermanentl di bl .
my mean each and all of those who signed it. if rnore than one person signs this Note, each person will ge liable uzi tos?hee[fiu|ls)n:r'i`oiti'ii‘fs orlottlle"loeawo: ,' n
yours mean the lender and any other owner of this Note. Buarantor means the Ca|ilornia Student Aid Commission. ' ' vol

V||l. DEF£RME||T: You will let me pay interest only if such interest is not paid by the United States Government and d ` ‘ ’ '
_ j 7 eler makin n
below if my repayment period has begun, | am_ not in default, and can prove to you that l qualify for the deferment l)gvllliireclp:inp:g?oll';§(;rl 'i':ilsaxoi;; aiiil:n
approved _by the Guarantor in the normal full-time academic worliload. as determined by that school, unless l arn not a citizen or national of the Unitedg$tate

for an organization exempt from Federal income tax under Seclion 501(c)(3) of the internal Revenue Code of 1954 hi

is comparable to service in the l_’eace Cor_p_s or ACT|ON programsl 3) For one or more periods not exceeding 3 yearv.: gilliathasi:'eat)ari:n(i{):rglr|i‘|:atl:?al'iy“dpeth
established by affidavit of a qualifed physician; or bi Unable to work because l must care for a spouse who is temporarily totally disabled as aslein had ha f'h
of a qualified physician 4)_For a period _not exceeding 2 years _while l arn serving an internship that is needed to gain professional reco nitiori rs redy ta
professional practice or service. 5) For a single period not exceeding one year while l am conscientiously seeking but unable to find full-time egmploym:r?l[ln the°U

States. '

For loans in repayment and disbursed before Octobei l 1981 a six~month post deferment grace period is rovidedf ' ' '
_ _ _ _. l o|lo
combination thereof, before princ pal payments are required to resume. if my loan is disbursed on or after Octob|;r l. 1981. anvd"i‘fgl?i;li'rep:i;ccgvgiff ::tgiri,;,liz:r?z:gfrl.g':::

l ot ' ` ‘ - l ' . .
arn n eligible for a six monti post deferment grace perrpg"right.“"e andimres!°"he C.M°m'a Studem
lX. REPI¥ME||T iii l|lelll.MEilTS: l can repay thetotal amountmm' ' l ' ' l "' - - » ..
Repayment” on the unpaid balance from the due date of tillmm _ m . Mffgwlggsati:dége A"""('ia| Pe.'°e"t.ale Rate_nl,
2) This Note has become due because of item 2 of Paragr . _ .- -` » - - prior to the l ate t `s will las esctr"bed 'm Pa"agmph
Note cr Repayment Sci_iedule which _shows the repaymen - ‘y» '- '-. "*-."" - 1 ` wi §pa'iqt o this Nritea'a ygur oo[';gn"s‘g" uaw ~a pa
Repayment Schedu|e will also be obligated to pay this Note. " »- `- - '~i - ` e rec ‘"d ?ny -slgne' wm s'gl“
Guaranteed Student Loan Progran of the Guararitor of this Note. signatu '. - D¢t¢ me mm y°" ""de' the_C‘m¢
The Payout Note or Repayment Schedule will require me to make mw `

due: The.repayment period will not be longer than 15 years from th .
outlined in Paragraph V||l. My original in-school period is counted i i. ;~"

   
  
 
   

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-` _less than 5 nor more than 10 years after this
t `; periods for which l am granted any authorizNot_ed:leecr:

    

n _ t . , ` lmayagreelnarepamant 'dh ‘
5years. However, l may at any time later have the repaym€"l penom ~` ' ' ; he total le a '" t ' ll y penn t at ls § mar l
prior to october ll 1981v my total payments for any yeaf D{ the fepa - M“qé§;:€ pseur;?':l'||tse:dots{:sds€f:?al.:a§l yPer:rgsl'a|r:lr(n S|€:)n(ts‘:e|scud;§g:l

Parenta| Loan Program (GFLF) or the PLUS Program under Title lV, ar B of the Hi her Education Act sh ll ~ -

my_spouse on any loan under such loan programs (or the‘halance of all such loans pigs accrued interest if l:ssrlh“ar|i>e$.;%so$) teti'/:?i t$h::gro r?:yr‘iyear' '"°'"d'".¥ Pl¥"le"ll
period shorter than 5 years. if my loan[s) is disbursed on or after October 1, 1981, my total payments for any year of the re”ymgm 5_mday result in a repayrr
the Guaranteed Student Loan Program (GSL_P), the Guaranteed Parental Loan Program (GPLP) or the PLUS Program under Til|e |V Part Bperf"th °'|]|.a" mg loans W
shall nol'be less than $600 per year including payments by my spouse on any loan under such loan programs for the balance of'a|| su hol e wm '

if less than $600) even though this may result in a repayment period shorter than 5 years. c °a"s plus acc'“ed "ll¢'

SAMPLE SCH[|JULE 0F PIYME||T$

Astudent loan is a serious commitment Prior to undertakin this financial ob|i at' l h ' ' » - . .
available to me_ 3 3 ’°" 5 mild tall iv my financial aid officer about all other financial assisfa\

Should l still feel a loan is necessary alter reviewing other financial ziid, it is important | understand m ' " ' -
Rights and Responsibi|ities which has been given to me. yrespnns'h'm'es as deta'led °" the Slal€mei'il of Borrom

To further assist me in unders':anding'my repayment possibilities some examples of typical repayment plans for 7% and 9% loans are listed below

Sevan Percent - mm pmm
`_
Arnount of Number l _ Annual l l
onthly Finarice Total of Percentage Monthly A'"“""

 

Repayment of M .
0bli ation Months Payment* Charge* Payments" Rate Paymenr* §;,r;a,g:s Pma| °f,, p"¢¢"ll¢¢
s .soo ia sse.as s 372.30 sz,srz.ao 7% ssz.zo s russo ;°’2"‘;§‘" item
5,000 84 75.46 1.338.64 5,333.54 m 30.44 1755'96 s- 5~50 9%
7,500 120 sr_oa 2,949.50 10,449.60 r% _ 94.95 3'894‘00 11.756,9)6 sec
io,ooo 120 115.11 3,933.20 13,933.20 7% izs.so 5']92'00 15394.00 ex
12'333 §§3 lfi'l§ §'§é§'fll §3'333'33 ’% 158-25 mem 18'535`33 §§
15, . ,- . ` _ 7% 189_ l .
*Esiimeied 90 7-788.00 22,7&8.00 9%

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